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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY



 SECURITIES AND EXCHANGE
 COMMISSION,
                                                      C. A. No. 2:19-cv-17213 (MCA)
        Plaintiff,
                           v.


  BRENDA SMITH, BROAD REACH
  CAPITAL, LP, BROAD REACH
  PARTNERS, LLC, and BRISTOL
  ADVISORS, LLC,

        Defendants.




   ORDER APPROVING THE RECEIVER, KEVIN D. KENT, ESQUIRE’S
       FIRST INTERIM FEE APPLICATION FOR THE PERIOD
           JUNE 29, 2020 THROUGH SEPTEMBER 30, 2020

        THIS MATTER having come before this Court upon the Motion of Receiver,

 Kevin D. Kent, Esquire, for Approval of First Interim Fee Application for the Period

 June 29, 2020 through September 30, 2020;

        It is on this      day of                    , 2020,

        ORDERED that the Receiver’s First Interim Fee Application is APPROVED;

 and it is

        FURTHER ORDERED that Payment to Conrad O’Brien PC (“Law Firm”) in

 the amount of $137,408.64, for services performed through September 30, 2020,
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 representing eighty percent (80%) of the Law Firm’s total fee of $171,760.80, is

 APPROVED and may be paid by the Receiver at this time; and it is

        FURTHER ORDERED that payment to Alvarez & Marsal Disputes and

 Investigations, LLC (“Accountant”) in the amount of $34,862.00 for services

 performed through September 30, 2020, representing eighty percent (80%) of the

 Accountant’s total fee of $43,577.50, is APPROVED and may be paid by the

 Receiver at this time; and it is

        FURTHER ORDERED that payment to Conrad O’Brien PC in the amount of

 $9,947.40 for expenses incurred through September 30, 2020, representing eighty

 percent (80%) of the Firm’s total expenses of $12,434.25, is APPROVED and may be

 paid by the Receiver at this time.


                                        BY THE COURT:



                                        HONORABLE MADELINE COX ARLEO
                                        UNITED STATES DISTRICT JUDGE
